959 F.2d 1101
    295 U.S.App.D.C. 97
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Ron NICHOLS, Appellant,v.Robert A. MOSBACHER, Secretary of Commerce, et al.
    No. 91-5140.
    United States Court of Appeals, District of Columbia Circuit.
    March 26, 1992.
    
      Before MIKVA, Chief Judge, and RUTH BADER GINSBURG and BUCKLEY, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion for appointment of counsel, the motion for summary affirmance, the court's order to show cause filed February 28, 1992, and the lack of any response thereto, it is
    
    
      2
      ORDERED that the order to show cause be discharged.   It is
    
    
      3
      FURTHER ORDERED that the request for appointment of counsel be denied.   Appointment of counsel in a civil action is exceptional and wholly unwarranted when appellant has not demonstrated any likelihood of success on the merits.   See D.C. Circuit Handbook of Practice and Internal Procedures 29 (1987).   It is
    
    
      4
      FURTHER ORDERED that the motion for summary affirmance be granted substantially for the reasons stated by the district court in its memorandum and order filed March 7, 1991.   The merits of the parties' positions are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      5
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    